AO 245D (WDNC Rev. 01/2020) Judgment in a Criminal Case for Revocation




                                                UNITED STATES DISTRICT COURT
                                                          Western District of North Carolina
    UNITED STATES OF AMERICA                                             )   JUDGMENT IN A CRIMINAL CASE
                                                                         )   (For Revocation of Probation or Supervised Release)
                 V.                                                      )   (For Offenses Committed On or After November 1, 1987)

                                                                         )
    PJ JAMAL GILYARD                                                     )   Case Number: DNCW303CR000134-007
                                                                         )   USM Number: 20020-058
                                                                         )
                                                                         )   Daniel Joseph Zamora
                                                                         )   Defendant’s Attorney

THE DEFENDANT:
  Admitted guilt to violation(s) 1-4 of the Petition.
  Was found guilty of violation(s) of the Petition after denial of guilt.
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

  Violation                                                                                                  Date Violation
  Number           Nature of Violation                                                                       Concluded
      1            New Law Violation                                                                         10/4/2020
      2            New Law Violation                                                                         10/4/2020
      3            New Law Violation                                                                         10/4/2020
      4            Leaving Judicial District Without Permission                                              10/4/2020

       The Defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

  Defendant found not guilty as to violation(s) of the Petition and is discharged as to such violation(s).
  Violation(s) (is)(are) dismissed on the motion of the United States.
        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay monetary penalties, the defendant shall notify the court and United States
attorney of any material change in the defendant's economic circumstances.


                                                                                  Date of Imposition of Sentence: 1/8/2021




                                                                                  Date: January 12, 2021




                      Case 3:03-cr-00134-GCM-CH Document 461 Filed 01/12/21 Page 1 of 3
AO 245D (WDNC Rev. 01/2020) Judgment in a Criminal Case for Revocation



Defendant: PJ Jamal Gilyard                                                                                Judgment- Page 2 of 3
Case Number: DNCW303CR000134-007



                                                                         IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
TWELVE (12) MONTHS AND ONE (1) DAY .

 The Court makes the following recommendations to the Bureau of Prisons:

 The Defendant is remanded to the custody of the United States Marshal.

 The Defendant shall surrender to the United States Marshal for this District:
             As notified by the United States Marshal.
             At on .

 The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             As notified by the United States Marshal.
             Before 2 p.m. on .
             As notified by the Probation Office.


                                                                           RETURN

I have executed this Judgment as follows:




Defendant delivered on __________ to _______________________________________ at

________________________________________, with a certified copy of this Judgment.




                         United States Marshal
                                                                                    By:
                                                                                          Deputy Marshal




                      Case 3:03-cr-00134-GCM-CH Document 461 Filed 01/12/21 Page 2 of 3
AO 245D (WDNC Rev. 01/2020) Judgment in a Criminal Case for Revocation



Defendant: PJ Jamal Gilyard                                                                                  Judgment- Page 3 of 3
Case Number: DNCW303CR000134-007

                                                                     SUPERVISED RELEASE
Upon release from imprisonment the Court Orders that NO FURTHER TERM OF SUPERVISED RELEASE IS IMPOSED.




                                                              [Remainder of page intentionally left blank]




                      Case 3:03-cr-00134-GCM-CH Document 461 Filed 01/12/21 Page 3 of 3
